Case 8:19-cv-01257-JFW-PJW Document 65 Filed 01/17/20 Page 1 of 17 Page ID #:516



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 9
10                             UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
11                                  WESTERN DIVISION
12
     Bryce Abbink, individually and on
13   behalf of all others similarly situated,                 Case No. 8:19-cv-01257-JFW-PJWx
14                                     Plaintiff,                REPLY IN SUPPORT OF
                                                                 PLAINTIFF’S MOTION TO
15   v.                                                          RECONSIDER ORDER
                                                                 GRANTING DEFENDANT
16   Experian Information Solutions, Inc.,                       EXPERIAN INFORMATION
     an Ohio corporation, Lend Tech                              SOLUTIONS, INC.’S MOTION
17   Loans, Inc., a California corporation,                      TO DISMISS
     and Unified Document Services, LLC,
18   a California Limited Liability                              Date: February 3, 2020
     Company,                                                    Time: 1:30 p.m.
19                                                               Judge: Hon. John F. Walter
                                         Defendants.             Courtroom: 7A
20                                                               Complaint Filed: June 21, 2019
                                                                 Pretrial Conf.: June 12, 2020
21                                                               Trial Date: June 23, 2020
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       Reply in Support of Plaintiff’s Motion to Reconsider Order Granting Defendant Experian Information Solutions,
                                                   Inc.’s Motion to Dismiss
                                                           -i-
Case 8:19-cv-01257-JFW-PJW Document 65 Filed 01/17/20 Page 2 of 17 Page ID #:517




 1                                               TABLE OF CONTENTS
 2   TABLE OF AUTHORITIES .................................................................................iii
 3   I.         Introduction ................................................................................................... 1
 4   II.        Argument........................................................................................................ 2
 5              A.       Plaintiff’s Motion Is Properly Tailored To A Single Issue That
 6                       Was Improperly Raised In Experian’s Reply In Support Of Its
 7                       Motion To Dismiss............................................................................... 2
 8              B.       The Court’s Denial Of Leave To Amend Was Committed In Clear
 9                       Error. ................................................................................................... 4
10                       1.        Pintos plainly held that Consumer Reporting Agencies can
11                                 be found liable under Section 1681e for its subscriber’s
12                                 violations of the FCRA. ............................................................ 5
13                       2.        Plaintiff’s new allegations establish that Experian either
14                                 knew or should have known that Lend Tech possessed no
15                                 permissible purpose for obtaining Plaintiff’s report. ............ 7
16              C.       The Court Should Not Award Attorneys’ Fees And Costs. ............ 9
17   III.       Conclusion .................................................................................................... 12
18
19
20
21
22
23
24
25
26
27
28
          Reply in Support of Plaintiff’s Motion to Reconsider Order Granting Defendant Experian Information Solutions,
                                                      Inc.’s Motion to Dismiss
                                                                  - ii -
Case 8:19-cv-01257-JFW-PJW Document 65 Filed 01/17/20 Page 3 of 17 Page ID #:518




 1                                        TABLE OF AUTHORITIES
 2   Black v. Del Webb Communities, Inc., No. CV 05-8743 SJO (JWJx), 2007 WL
 3                   9752092 (C.D. Cal. Mar. 27, 2007) ...................................................... 9
 4   Bureau of Consumer Financial Protection v. Chou Team Realty LLC, et al., Case
 5                   No. 8:20-cv-00043 (C.D. Cal. 2020) .................................................... 1
 6   Colonial Life and Accident Insurance Company v. Stentorians-L.A. County Black
 7                   Fire Fighters, 2:13-cv-9235-CAS-FFMx, 2014 WL 12629695 (C.D.
 8                   Cal. Mar. 27, 2014) ............................................................................. 10
 9   Figueroa v. Gates, No. CV00–4158ABC(BQRX), 2002 WL 31572968 (C.D. Cal.
10                   Nov. 15, 2002)..................................................................................... 11
11   Gonzalez v. Planned Parenthood of Los Angeles, Case No. CV 05-08818 BRO
12                   (FMOx), 2015 WL 12659936 (C.D. Cal. Feb. 4, 2015) ..................... 10
13   Medversant Technologies, L.L.C. v. Morrisey Associates, Inc.,
14                   Case No. CV 09-05031 MMM (FFMx), 2011 WL 13124039
15                   (C.D. Cal. Mar. 11, 2011) ..................................................................... 9
16   Moreland v. CoreLogic SafeRent LLC, Case No. SACV 13-470 AG (ANx), 2014
17                   WL 12783274 (C.D. Cal. May 12, 2014) ............................................. 6
18   Pintos v. Pacific Creditors Ass’n, 605 F.3d 665 (9th Cir. 2010) .......................... 5, 6
19   Primus Automotive Financial Services, Inc. v. Batarse, 115 F.3d 644 (9th Cir.
20                   1997).................................................................................................... 10
21   Shotkoski v. Denver Investment Group, Inc., 134 P.3d 513 (Colo. App. 1986)........ 7
22   Skidmore Energy, Inc. v. Mediholding S.A., CV 05-04742 FMC (CWx), 2006 WL
23                   8439243 (C.D. Cal. Jan. 5, 2006)........................................................ 10
24   U.S. ex rel. Giles v. Sardie, 191 F.Supp.2d 1117 (C.D. Cal. 2000) .......................... 3
25
26   STATUTES & RULES
27   Fair Credit Reporting Act, 15 U.S.C. § 1681e, et seq. .............................................. 1
28
       Reply in Support of Plaintiff’s Motion to Reconsider Order Granting Defendant Experian Information Solutions,
                                                   Inc.’s Motion to Dismiss
                                                              - iii -
Case 8:19-cv-01257-JFW-PJW Document 65 Filed 01/17/20 Page 4 of 17 Page ID #:519




 1   L.R. 83-7, et seq. .................................................................................................. 9, 11
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 4
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28
       Reply in Support of Plaintiff’s Motion to Reconsider Order Granting Defendant Experian Information Solutions,
                                                   Inc.’s Motion to Dismiss
                                                                - iv -
Case 8:19-cv-01257-JFW-PJW Document 65 Filed 01/17/20 Page 5 of 17 Page ID #:520




 1   I.         Introduction
 2              Defendant Experian Information Solutions, Inc. (“Defendant” or “Experian”)
 3   continues to deny that it bears any responsibility under the Fair Credit Reporting
 4   Act (“FCRA” or “Act”), 15 U.S.C. § 1681e(a), et seq. stemming from its sale of
 5   Plaintiff’s consumer report to Defendant Lend Tech Loans, Inc.1 (“Lend Tech”).
 6   Experian launches two primary attacks against reconsideration and then advances a
 7   baseless request for its attorneys’ fees and costs. None of its arguments has merit.
 8              First, Experian claims that Plaintiff’s motion is improper because Abbink
 9   supposedly only raises the same arguments and relies on the same authorities
10   previously raised in opposition to Experian’s motion to dismiss. Experian neglects
11   to mention that it only raised the argument that was the basis for the Court’s denial
12   of leave to amend in its reply in support of its motion to dismiss—not in its original
13   Motion. Moreover, Experian is unable to point to anywhere that Plaintiff previously
14   relied upon the same holdings within Pintos that form the basis of his motion.
15              Second, Experian attempts to distinguish Pintos from the present case by
16   arguing that for Plaintiff to state a claim for relief under Section 1681e(a) he must
17   likewise show that Experian violated Section 1681b. This seriously misunderstands
18   Pintos. Instead, Section 1681e(a) exposes consumer reporting agencies (“CRAs”) to
19   liability when they fail to implement reasonable policies and procedures to limit
20   their subscribers’ violations of Section 1681b. Given that Lend Tech violated
21   Section 1681b by obtaining Plaintiff’s report absent a permissible purpose,
22   Experian may be held liable for this violation of the Act. Nor would reconsideration
23
     1
24     On January 9, 2020, the Consumer Finance Protection Bureau filed an
     enforcement action against Lend Tech and other companies. See Bureau of
25   Consumer Financial Protection v. Chou Team Realty LLC, et al., Case No. 8:20-cv-
26   00043 (C.D. Cal. 2020). The Complaint alleges that Lend Tech is a “sham entity”
     that obtained more than 11 million consumer reports over less than two years and
27   never provided anyone firm offers of credit. (See id. ¶¶ 65-67, 74, 79.)
28
          Reply in Support of Plaintiff’s Motion to Reconsider Order Granting Defendant Experian Information Solutions,
                                                      Inc.’s Motion to Dismiss
                                                              -1-
Case 8:19-cv-01257-JFW-PJW Document 65 Filed 01/17/20 Page 6 of 17 Page ID #:521




 1   prove futile—Plaintiff can allege sufficient facts that, if proven true, would
 2   demonstrate a willful violation of Section 1681e(a).
 3             Lastly, Experian asserts—without any support—that it is somehow entitled to
 4   attorneys’ fees and costs for having to defend against this motion. Experian fails to
 5   identify any bad faith on the part of Plaintiff, which is required to obtain fees and
 6   costs under L.R. 83-7. Rather, Experian merely disagrees with the substance of
 7   Plaintiff’s motion. Because this is not a basis for which fees can be awarded, the
 8   Court should decline to accept Experian’s request to award it fees and costs.2
 9             As explained below, each of Experian’s arguments lack merit. And Court
10   should find that reconsideration is warranted here.
11   II.       Argument
12             A.      Plaintiff’s Motion Is Properly Tailored To A Single Issue That
13                     Was Improperly Raised In Experian’s Reply In Support Of Its
14                     Motion To Dismiss.
15             Experian first argues that Plaintiff’s motion is improper because it raises “the
16   same arguments Plaintiff made—or could have made—in opposing Experian’s
17   motion to dismiss.” (Opp. at 5.) Experian claims that the arguments could have
18   been raised because: (1) it raised the argument that a “CRA cannot be held liable for
19   a violation of the FCRA based purely on a subscriber’s violation” in its motion to
20   dismiss (it did not); and (2) Plaintiff already relied on Pintos in his opposition to its
21   motion to dismiss. (Id.) Experian also asserts that Plaintiff’s new facts are “merely
22   repackaged facts” that were already alleged in his complaint. (Opp. at 6.) All of this
23   is incorrect.
24
25   2
       Experian’s attempt to seek fees without any support is designed to harass and
26   intimidate Plaintiff into abandoning meritorious claims. Combined with Experian’s
     failure to follow proper procedure, Experian’s request for legal fees is itself
27   unfounded and subject to sanctions under Rule 11.
28
         Reply in Support of Plaintiff’s Motion to Reconsider Order Granting Defendant Experian Information Solutions,
                                                     Inc.’s Motion to Dismiss
                                                             -2-
Case 8:19-cv-01257-JFW-PJW Document 65 Filed 01/17/20 Page 7 of 17 Page ID #:522




 1           To start, Experian did not, as it claims, raise the argument that a CRA cannot
 2   be held liable for a violation of the FCRA based purely on a subscriber’s violation
 3   in its motion to dismiss. Tellingly, Experian fails to directly cite where it asserted
 4   this supposed argument. Instead, Experian cites to “(ECF No. 25-1 at 6-7.)” of its
 5   motion to dismiss. A review of these pages, however, reveals nothing of the sort.
 6   Indeed, nothing in Experian’s original motion put Plaintiff on notice that this was
 7   an argument that Experian intended to raise. Rather, Experian raised this argument
 8   only in its reply. (See Dkt. 37 at 4.) Again, this is improper. See U.S. ex rel. Giles v.
 9   Sardie, 191 F.Supp.2d 1117, 1127 (C.D. Cal. 2000) (“It is improper for a moving
10   party to introduce new facts or different legal arguments in the reply brief than
11   those presented in the moving papers.”).
12           Additionally, the mere fact that Plaintiff relied on portions of Pintos in its
13   opposition to Experian’s motion to dismiss does not—as Experian suggests—
14   require Plaintiff to raise all potential holdings contained in that case. As previously
15   explained, Experian never raised this argument, and it makes little sense for
16   Plaintiff to rebut arguments that were not raised. Moreover, noticeably absent from
17   Experian’s opposition is any cite to where Plaintiff relied on the same provisions of
18   Pintos that he relies on for reconsideration (he didn’t). In short, Plaintiff has not
19   repeated any arguments that he made or could have made in his prior briefing.
20           Finally, Experian also claims that reconsideration is improper because his
21   new allegations of Experian’s wrongdoing are repackaged facts that were already
22   alleged. (Opp. at 6.) As explained below, Experian misstates Plaintiff’s new
23   allegations.
24           First, Experian contends that Plaintiff already alleged that Lend Tech did not
25   possess a license to act as a mortgage broker in the State of Colorado. This is both
26   incorrect and also misses the point. Here, Plaintiff will allege that Experian failed to
27   verify that Lend Tech possessed the proper licensing in Colorado, and that this
28
       Reply in Support of Plaintiff’s Motion to Reconsider Order Granting Defendant Experian Information Solutions,
                                                   Inc.’s Motion to Dismiss
                                                           -3-
Case 8:19-cv-01257-JFW-PJW Document 65 Filed 01/17/20 Page 8 of 17 Page ID #:523




 1   failure directly violates its own polices and procedures. As this Court stated in its
 2   MTD Order, “Plaintiff fails to identify a single process or procedure Experian
 3   lacked or failed to follow.” (Dkt. 52 at 4.) Thus, Plaintiff’s proposed amendment
 4   can and will address this squarely.
 5           Second, Experian asserts that Plaintiff previously claimed that Lend Tech
 6   requested student loan information. This too misstates the allegations. It is not that
 7   Lend Tech obtained some student loan information. Instead, Plaintiff will allege that
 8   the only specific attributes that Lend Tech requested and received from Experian
 9   was information about consumer student loans—despite supposedly being a
10   mortgage lender, Lend Tech made no request for mortgage related information.
11   This too is different from the initial pleading.
12           Third, Experian’s assertion that the Court already considered and rejected
13   Plaintiff’s “red flags” theory misses the mark. Plaintiff will allege additional facts
14   regarding Experian’s procedures—including that Experian advised Lend Tech as to
15   how it could comply with Experian’s own internal requirements and coached Lend
16   Tech as to what would constitute a “firm offer of credit.” These allegations also go
17   directly to Experian’s policies and procedures and its knowledge of Lend Tech’s
18   conduct. In short, Plaintiff goes well beyond the mere restatement of old facts.
19           Abbink’s motion for reconsideration is properly before the Court. Plaintiff
20   does not repeat any argument that he made, or was put on notice to have made, in
21   opposition to Experian’s motion to dismiss. Instead, Plaintiff seeks reconsideration
22   based upon an erroneous argument that was incorrectly raised in Experian’s reply.
23           B.      The Court’s Denial Of Leave To Amend Was Committed In Clear
24                   Error.
25           Next, Experian argues that Pintos is inapplicable because supposedly
26   “[n]othing in Pintos suggests that a CRA with ‘reason to believe’ that it was
27   furnishing a consumer’s report in accordance with § 1681b(c)(1) can nevertheless
28
       Reply in Support of Plaintiff’s Motion to Reconsider Order Granting Defendant Experian Information Solutions,
                                                   Inc.’s Motion to Dismiss
                                                           -4-
Case 8:19-cv-01257-JFW-PJW Document 65 Filed 01/17/20 Page 9 of 17 Page ID #:524




 1   be held liable under the FCRA[.]” (Opp. at 9-10.) Experian then argues that
 2   “Plaintiff’s additional facts do not establish that Experian willfully violated its
 3   obligations under Section 1681e(a).” (Opp. at 10.)
 4           This is incorrect. Pintos found that a CRA may be held liable under Section
 5   1681e for its subscriber’s violation of the Act. Furthermore, Plaintiff’s new
 6   allegations demonstrate that Experian willfully violated the Act when it sold
 7   Plaintiff’s consumer report.
 8                   1.       Pintos plainly held that Consumer Reporting Agencies can
 9                            be found liable under Section 1681e for its subscriber’s
10                            violations of the FCRA.
11           The Ninth Circuit in Pintos could not have been more clear: “A credit
12   reporting agency may be liable for its subscriber’s violation when the agency fails
13   to comply with the statutory obligations imposed by 15 U.S.C. § 1681e.” Pintos v.
14   Pacific Creditors Ass’n, 605 F.3d 665, 677 (9th Cir. 2010) (citing Guimond v.
15   Trans Union Credit Info. Co., 45 F.3d 1329, 1333 (9th Cir. 1995)). Nothing in
16   Pintos states that a CRA’s liability under Section 1681e(a) is somehow predicated
17   on its underlying violation of Section 1681b. In fact, just the opposite is true. Pintos
18   expressly considered the issue of whether a CRA can also be liable for a violation
19   of the FCRA committed by one of its subscriber. See Id. at 676-77 (“We next
20   consider whether Experian is also liable for any violation of the FCRA committed
21   by PCA.”). Moreover, in Pintos, Experian expressly argued that Section 1681e(a)
22   offered the court an alternative basis to deny it had liability for violations of
23   Section 1681b. See id. at 677 (emphasis added) (“Experian argues that because 15
24   U.S.C. § 1681e immunizes it from subscribers’ FCRA violations, the statute offers
25   an alternative basis to affirm the summary judgment with respect to its liability.”).
26           Thus, Experian’s assertion that Pintos only opined as to a CRA’s liability
27   under Section 1681e when it released the report in violation Section 1681b is
28
       Reply in Support of Plaintiff’s Motion to Reconsider Order Granting Defendant Experian Information Solutions,
                                                   Inc.’s Motion to Dismiss
                                                           -5-
Case 8:19-cv-01257-JFW-PJW Document 65 Filed 01/17/20 Page 10 of 17 Page ID #:525




  1   incorrect. These are two separate claims: (1) on the one hand, a CRA may be liable
  2   under Section 1681b by releasing a report without a “reason to believe” it will be
  3   used for a permissible purpose, and (2) on the other hand, a CRA may be liable
  4   under Section 1681e(a) for its subscriber’s violation when it fails to implement and
  5   follow reasonable procedures to ensure that its subscribers actually use the reports
  6   only for permissible purposes. See Moreland v. CoreLogic SafeRent LLC, Case No.
  7   SACV 13-470 AG (ANx), 2014 WL 12783274, at *2 (C.D. Cal. May 12, 2014)
  8   (emphasis added) (“The Court previously dismissed Plaintiff’s 1681e(a) claim
  9   because Plaintiff hadn't pleaded that her report was used for an impermissible
 10   purpose.”). Here, Plaintiff alleges that Lend Tech obtained his report absent any
 11   permissible purpose. (Compl. ¶¶ 3, 10, 28, 71-81.) This is the Section 1681b
 12   violation upon which Experian’s liability under Section 1681e(a) is plausibly
 13   premised.
 14          Furthermore, Experian’s argument is also logically untenable. To hear
 15   Experian tell it, a CRA can never violate Section 1681e(a) so long as it has a
 16   “reason to believe” that it is furnishing a report consistent with Section 1681b—
 17   which can be accomplished by obtaining a subscriber’s certification (or promise to
 18   obey the law). This would effectively render Section 1681e(a) meaningless. A
 19   consumer could never state a claim under Section 1681e(a) so long as the CRA
 20   obtained a certification regardless of whether their report was used impermissibly.
 21   Yet, as explained in Pintos, the entire purpose of Section 1681e(a) is to require
 22   CRAs to do more than simply accept a subscriber’s promise to obey the law. See
 23   Pintos, 605 F.3d at 677 (“Under the plain terms of § 1681e(a), a subscriber’s
 24   certification cannot absolve the reporting agency of its independent obligation to
 25   verify the certification and determine that no reasonable grounds exist for
 26   suspecting impermissible use.”). In short, section 1681e(a) expressly requires that
 27   CRAs ensure that subscriber’s actually intend to use the reports for a permissible
 28
       Reply in Support of Plaintiff’s Motion to Reconsider Order Granting Defendant Experian Information Solutions,
                                                   Inc.’s Motion to Dismiss
                                                           -6-
Case 8:19-cv-01257-JFW-PJW Document 65 Filed 01/17/20 Page 11 of 17 Page ID #:526




  1   purpose.
  2           Because Plaintiff alleges that Lend Tech violated Section 1681b in obtaining
  3   his report absent any permissible purpose, Plaintiff should be granted leave to
  4   amend with respect to his Section 1681e(a) claim asserted against Experian.
  5                   2.       Plaintiff’s new allegations establish that Experian either
  6                            knew or should have known that Lend Tech possessed no
  7                            permissible purpose for obtaining Plaintiff’s report.
  8           Experian also claims that Plaintiff’s new allegations do not state a claim for a
  9   willful violation of the FCRA. (Opp. at 10-13.) This argument misunderstands
 10   Plaintiff’s proposed allegations.
 11           First, Experian takes issue with Plaintiff’s proposal to limit his class to
 12   Colorado consumers, and his allegation that Experian failed to ensure that Lend
 13   Tech possessed a license to operate as a mortgage broker in Colorado. Experian
 14   incorrectly claims that Plaintiff has offered no authority to suggest that a California
 15   real estate broker must obtain a license in every state in which it arranges loans. To
 16   be clear, in Colorado, “[i]t is unlawful for any person, firm, partnership, limited
 17   liability company, association, or corporation to engage in the business or capacity
 18   of real estate broker or real estate salesperson in this state without first having
 19   obtained a license from the real estate commission.” Shotkoski v. Denver Investment
 20   Group, Inc., 134 P.3d 513, 515 (Colo. App. 1986). Lend Tech didn’t merely fail to
 21   obtain a license: Experian’s failure to ensure that it had a license violates Experian’s
 22   own written policy, which required it to verify that businesses have the proper
 23   licensing for their type of business as required by state, county, and city. Rather,
 24   Experian merely verified that Lend Tech was permitted to conduct business in the
 25   State of California—no other state. Then, it permitted Lend Tech to pull consumer
 26   reports nationwide absent any confirmation they had a reason for obtaining such
 27   reports.
 28
        Reply in Support of Plaintiff’s Motion to Reconsider Order Granting Defendant Experian Information Solutions,
                                                    Inc.’s Motion to Dismiss
                                                            -7-
Case 8:19-cv-01257-JFW-PJW Document 65 Filed 01/17/20 Page 12 of 17 Page ID #:527




  1           Second, Experian claims that Plaintiff already alleged that Lend Tech
  2   obtained student loan information and further that this information could have been
  3   used to solicit consumers for mortgage refinancing. (Opp. at 11.) As explained
  4   further above, these allegations are different. Plaintiff here alleges that the only
  5   specific attributes that Lend Tech requested and received were related to student
  6   loans. Lend Tech did not request information regarding consumers’ home loans or
  7   any other loans. It is hard to fathom how only possessing a consumers’ student loan
  8   information could enable Lend Tech to submit firm offers to refinance a home. This
  9   information is also inconsistent with Lend Tech’s purported firm offer of credit
 10   mailer, which was approved by Experian. A review following its own policies
 11   would’ve revealed Lend Tech was misusing consumer reports.
 12           Third, Experian claims that Plaintiff’s allegations regarding its flawed review
 13   demonstrate that it was sufficiently vetting its subscribers because it permitted Lend
 14   Tech to resubmit its subscriber application, with additional documentation, after it
 15   initially was determined to be inadequate. (Opp. 11-12.) But this never happened.
 16   Experian did not deny the application and require Lend Tech to resubmit its
 17   application. Instead, Experian simply told Lend Tech what it would need to submit
 18   to meet its requirements. Experian also coached Lend Tech as to what a “firm offer
 19   of credit” needed to include so as to game Experian’s own system. Experian wasn’t
 20   verifying; it was advising.
 21           Experian fails to address Plaintiff’s proposed allegation that Experian granted
 22   Lend Tech unrestricted access to its iScreen Product—which is the system that
 23   allowed Lend Tech to request and receive consumer reports. This would perhaps
 24   have been less problematic had Experian verified that Lend Tech was licensed to
 25   engaged in business nationwide. However, it did not. Again, Experian conducted a
 26   review only with respect to Lend Tech’s ability to conduct business in California
 27   and then permitted Lend Tech to pull reports about consumers nationwide. Also
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        Reply in Support of Plaintiff’s Motion to Reconsider Order Granting Defendant Experian Information Solutions,
                                                    Inc.’s Motion to Dismiss
                                                            -8-
Case 8:19-cv-01257-JFW-PJW Document 65 Filed 01/17/20 Page 13 of 17 Page ID #:528




  1   omitted by Experian, Plaintiff will allege that it did not conduct any follow up
  2   review of Lend Tech after it approved it for the iScreen Product despite Lend Tech
  3   pulling reports outside the scope of its initial review.
  4           Together, these proposed allegations make clear that Experian either knew or
  5   should have known that Lend Tech, a California mortgage broker and sham entity,
  6   had no permissible purpose for obtaining Plaintiff’s consumer report. Indeed, it
  7   wasn’t even lawful for Lend Tech to solicit Plaintiff in Colorado. And Experian’s
  8   failure to limit Lend Tech’s access to consumer reports constitutes a knowing or
  9   reckless disregard for its statutory duties.
 10           Since Plaintiff can allege additional facts to establish that Experian willfully
 11   violated Section 1681e(a), he should be granted leave to amend.
 12           C.      The Court Should Not Award Attorneys’ Fees And Costs.
 13           Experian concludes its argument asserting that the Court should award it
 14   attorneys’ fees and costs for having to defend against this motion for
 15   reconsideration. (Opp. at 13-14.) This request is baseless. Experian has not
 16   identified any bad faith, Rule 11 violation, or willful disobedience of a court order
 17   to justify such a request.
 18           L.R. 83-7 permits “the imposition of costs and attorneys’ fees to opposing
 19   counsel, if the Court finds that the conduct rises to the level of bad faith and/or a
 20   willful disobedience of a court order.” See L.R. 83-7(b). The “bad faith requirement
 21   sets a high threshold.” Medversant Technologies, L.L.C. v. Morrisey Associates,
 22   Inc., Case No. CV 09-05031 MMM (FFMx), 2011 WL 13124039, at n.45 (C.D.
 23   Cal. Mar. 11, 2011) (quoting Mendez v. County of San Bernardino, 540 F.3d 1109,
 24   1132 (9th Cir. 2008)). “‘Bad faith,’ here means that the attorney knowingly or
 25   recklessly pursued a frivolous claim, or engaged in litigation tactics that needlessly
 26   obstructed the litigation of non-frivolous claims.” Black v. Del Webb Communities,
 27   Inc., No. CV 05-8743 SJO (JWJx), 2007 WL 9752092, at *1 (C.D. Cal. Mar. 27,
 28
        Reply in Support of Plaintiff’s Motion to Reconsider Order Granting Defendant Experian Information Solutions,
                                                    Inc.’s Motion to Dismiss
                                                            -9-
Case 8:19-cv-01257-JFW-PJW Document 65 Filed 01/17/20 Page 14 of 17 Page ID #:529




  1   2007). However, the Ninth Circuit has cautioned that “sanctions should be reserved
  2   for the ‘rare and exceptional case where the action is clearly frivolous, legally
  3   unreasonable or without legal foundation, or brought for an improper purpose.’”
  4   Primus Automotive Financial Services, Inc. v. Batarse, 115 F.3d 644, 649 (9th Cir.
  5   1997).
  6          Notably, even when denying improper and unmeritorious motions for
  7   reconsideration, courts routinely find requests for attorneys’ fees and cost to be
  8   inappropriate. See Skidmore Energy, Inc. v. Mediholding S.A., CV 05-04742 FMC
  9   (CWx), 2006 WL 8439243, at *3 (C.D. Cal. Jan. 5, 2006) (“although procedurally
 10   improper and substantively unmeritorious, Plaintiff’s Motion was not frivolous.
 11   Accordingly, the request for sanctions is denied.”); see also Colonial Life and
 12   Accident Insurance Company v. Stentorians-L.A. County Black Fire Fighters, 2:13-
 13   cv-9235-CAS-FFMx, 2014 WL 12629695, at *3 (C.D. Cal. Mar. 27, 2014) (“While
 14   the moving defendants' motion is denied for the reasons set forth above, the Court
 15   finds that plaintiff has failed to demonstrate good cause for the issuance of
 16   sanctions or the award of attorneys' fees.”); see also Gonzalez v. Planned
 17   Parenthood of Los Angeles, Case No. CV 05-08818 BRO (FMOx), 2015 WL
 18   12659936, at *15 (C.D. Cal. Feb. 4, 2015) (“Although Defendants violated Local
 19   Rule 7-17, the Court does not find the violation sufficiently culpable to warrant
 20   sanctions under Local Rule 83-7.”).
 21          Here, there is no basis for awarding Experian its attorneys’ fees and costs.
 22   Plaintiff complied with L.R. 7-18 and did not, as Experian claims, repeat any
 23   argument that could have been raised in his opposition to its motion to dismiss.
 24   Indeed, while claiming that Plaintiff should have raised this argument in opposition,
 25   Experian is unable to point to anywhere in its motion to dismiss where it raised this
 26   argument (it didn’t). Instead, Experian included this argument in its reply, which is
 27   improper. Moreover, simply stating that Plaintiff is relying on the same authority,
 28
       Reply in Support of Plaintiff’s Motion to Reconsider Order Granting Defendant Experian Information Solutions,
                                                   Inc.’s Motion to Dismiss
                                                          - 10 -
Case 8:19-cv-01257-JFW-PJW Document 65 Filed 01/17/20 Page 15 of 17 Page ID #:530




  1   Pintos, does not equate to rehashing old arguments. Again, Plaintiff did not rely on
  2   the holding of Pintos that forms the basis for this motion in his opposition to the
  3   motion to dismiss.
  4           And even if Experian could show that Plaintiff’s arguments were, or could
  5   have been, raised in opposition to its motion to dismiss, that alone is not sufficient
  6   to impose attorneys’ fees or costs. Experian needs to demonstrate that Plaintiff’s
  7   conduct rises to the level of “bad faith.” See L.R. 83-7. Experian’s only attempt to
  8   show bad faith is that it claims it warned Plaintiff that his arguments did not comply
  9   with the rule. (Opp. at 13.) Experian’s self-serving opinion that this motion does not
 10   have merit is not a sufficient basis for imposing fees and costs.
 11           Furthermore, Experian cites only one inapposite case to support its
 12   suggestion that fees and costs are appropriate, Figueroa v. Gates, No. CV00–
 13   4158ABC(BQRX), 2002 WL 31572968 (C.D. Cal. Nov. 15, 2002). In Figueroa, the
 14   Court awarded attorneys’ fees based upon “defense counsel's numerous procedural
 15   violations.” Id. at *3. First, the defendant filed its motion six months after the
 16   motion cut off date and four months after the court had ruled on its initial motion
 17   for summary judgment. See id. at *1 (“Not only was the motion filed six months
 18   after the motion cut-off date, but it was also filed four months after the Court ruling
 19   at issue.”). Second, the defendant failed to conduct a pre-filing conference as
 20   required by L.R. 7-3. See id. Third, the defendant failed to articulate the appropriate
 21   reconsideration standard and incorrectly styled the motion as a “‘renewed’ motion
 22   for summary judgment” instead of a motion for reconsideration. See id. at *3. None
 23   of these facts are present here. Plaintiff has not violated any rules, let alone
 24   repeatedly. Instead, Plaintiff appropriately filed a motion for reconsideration with
 25   respect to one, narrow issue.
 26           Accordingly, the Court should reject Experian’s meritless request for
 27   attorneys’ fees and costs. It is itself so devoid of merit as to run afoul of Rule 11.
 28
        Reply in Support of Plaintiff’s Motion to Reconsider Order Granting Defendant Experian Information Solutions,
                                                    Inc.’s Motion to Dismiss
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Case 8:19-cv-01257-JFW-PJW Document 65 Filed 01/17/20 Page 16 of 17 Page ID #:531




  1   III.    Conclusion
  2           The Court should reconsider its denial of leave to amend. The denial of leave
  3   to amend contradicts the Ninth Circuit’s holding in Pintos. And as explained above,
  4   Plaintiff can and will allege additional facts to demonstrate that Experian willfully
  5   violated Section 1681e(a). Therefore, the Court should grant Plaintiff leave to
  6   amend.
  7
                                                         Respectfully Submitted,
  8
  9                                                      BRYCE ABBINK, individually and on
                                                         behalf of all others similarly situated,
 10
 11   Dated: January 17, 2020                            By: /s/ Taylor T. Smith

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        Reply in Support of Plaintiff’s Motion to Reconsider Order Granting Defendant Experian Information Solutions,
                                                    Inc.’s Motion to Dismiss
                                                           - 12 -
Case 8:19-cv-01257-JFW-PJW Document 65 Filed 01/17/20 Page 17 of 17 Page ID #:532




  1                                    CERTIFICATE OF SERVICE
  2          The undersigned hereby certifies that a true and correct copy of the above
  3   titled document was served upon counsel of record by filing such papers via the
  4   Court’s ECF system on January 17, 2020.
  5                                                     /s/ Taylor T. Smith
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       Reply in Support of Plaintiff’s Motion to Reconsider Order Granting Defendant Experian Information Solutions,
                                                   Inc.’s Motion to Dismiss
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